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IN THE MATTER OF Bond No. 21BSBJE8329

Cadence Bank

vs. Receiver'’s Bond

Tritagen, LLC and Independent Texas
Recyclers, LLC

KNOW ALL MEN BY THESE PRESENTS:
THAT WE, Alan Weiner as Principal(s)

and the_Hartford Casualty Insurance Company, a Indiana corporation, as Surety, are held and

firmly bound unto United States Distcict Court for the Southern District of Texas Houston piviaS Obligee(s), in the penal sum of
Five Thousand ($5,000 ) DOLLARS,

lawful money of the United States of America, for the payment of which, well and truly to be made, we bind

ourselves, our heirs, legal representatives, successors and assigns, jointly and severally, firmly by these

presents.

Whereas, in the above action and the above Court, Alan Weiner ’

the Principal(s) has (have) been appointed Receiver(s) of
Tritgen, LLC and Independent Texas Recyclers, LLC

with authority and instructions and designated by the court, and has (have) been directed to give a bond to
Obligee in the sum aforesaid, according to law.

NOW THEREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, That if the said Principal(s) shall
faithfully discharge the duties of Receiver(s), and shall obey the orders of the Court therein, then this

obligation shall be void; otherwise to remain in full force and virtue.

SIGNED AND SEALED this 11th day of _ April + 2024

Alan Weiner

BY:

APPROVED tkord Casuatt any
ay OMA,
bdmaris Martinez,
BY:

Judge
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Direct Inquiries/Claims to:
THE HARTFORD

BOND, T-11
POWER OF ATTORNEY nests
Hartford, Connecticut 06155
Bond.Claims@thehartford.com
call: 888-266-3488 or fax: 860-757-5835

. Agency Name: INSURANCE OFFICE OF AMERICA INC
KNOW ALL PERSONS BY THESE PRESENTS THAT: Agency Code: 21-228014

Hartford Fire Insurance Company, a corporation duly organized under the laws of the State of Connecticut

Hartford Casualty Insurance Company, a corporation duly organized under the laws of the State of Indiana
Hartford Accident and Indemnity Company, a corporation duly organized under the laws of the State of Connecticut
Hartford Underwriters Insurance Company, a corporation duly organized under the laws of the State of Connecticut
Twin City Fire Insurance Company, a corporation duly organized under the laws of the State of Indiana

Hartford Insurance Company of Illinois, a corporation duly organized under the laws of the State of Illinois
Hartford Insurance Company of the Midwest, a corporation duly organized under the laws of the State of Indiana
Hartford Insurance Company of the Southeast, a corporation duly organized under the laws of the State of Florida

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having their home office in Hartford, Connecticut (hereinafter collectively referred to as the “Companies”) do hereby make, constitute and appoint
Damaris Martinez

its true and lawful Attorney-in-Fact, to sign its name as surety(ies) only as delineated above by , and to execute, seal and acknowledge the
following bond, undertaking, contract or written instrument:

Bond No, 21BSBJE8329

Naming Alan Weiner as Principal,

and United States District Court for the Southern District of Texas Houston Division as Obligee,

in the amount of See Bond Form(s) on behalf of Company in its business of guaranteeing the fidelity of persons, guaranteeing the performance of
contracts and executing or guaranteeing bonds and undertakings required or permitted in any actions or proceedings allowed by law.

In Witness Whereof, and as authorized by a Resolution of the Board of Directors of the Companies on May 23, 2016 the Companies
have caused these presents to be signed by its Assistant Vice President and its corporate seals to be hereto affixed, duly attested by its Assistant
Secretary. Further, pursuant to Resolution of the Board of Directors of the Companies, the Companies hereby unambiguously affirm that they are
and will be bound by any mechanically applied signatures applied to this Power of Attorney.

Einar
‘ SS

tL

Shelby Wiggins, Assistant Secretary Joelle L. LaPierre, Assistant Vice President

STATE OF FLORIDA
ss. Lake Mary
COUNTY OF SEMINOLE
On this 20th day of May, 2021, before me personally came Joelle LaPierre, to me known, who being by me duly sworn, did depose and say: that
(s)he resides in Seminole County, State of Florida; that (s)he is the Assistant Vice President of the Companies, the corporations described in and which
executed the above instrument; that (s)he knows the seals of the said corporations; that the seals affixed to the said instrument are such corporate seals;
that they were so affixed by authority of the Boards of Directors of said corporations and that (s)he signed his/her name thereto by like authority.

0 Jessicn Civeone

My Commission HE 122280
Expires June 20, 2025

ay "Ug ,

|, the undersigned, Assistant Vice President of the Companies, DO HEREBY CERTIFY that the above and foregoing is a true and correct
copy of the Power of Attorney executed by said Companies, which is still in full force effective as of April 11, 2024. .

Signed and sealed in Lake Mary, Florida.

Keith D. Dozois, Assistant Vice President
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THE
HARTFORD

Claims Inquiries Notice

Hartford Fire Insurance Company Twin City Insurance Company

Hartford Casualty Insurance Company Hartford Insurance Company of Illinois
Hartford Accident and Indemnity Company Hartford Insurance Company of the Midwest
Hartford Underwriters Insurance Company Hartford Insurance Company of the Southwest

Please address inquiries regarding Claims for all surety and fidelity products issued by The
Hartford’ s underwriting companies to the following:

Phone Number: : 888-266-3488

Fax — Claims : 860-757-5835 or 860-221-3965
E-mail : bond.claims@thehartford.com
Mailing Address : Hartford Insurance

One Hartford Plaza T 14
Hartford, CT 06155

Claims Inquiries Notice 2003
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Have a complaint or need help?
If you have a problem with a claim or your premium, call your insurance company or
HMO first. If you can't work out the issue, the Texas Department of Insurance may be
able to help.

Even if you file a complaint with the Texas Department of Insurance, you should also file
a complaint or appeal through your insurance company or HMO. If you don't, you may
lose your right to appeal.

The Hartford
To get information or file a complaint with your insurance company or HMO:
Call: Consumer Affairs at 1-800- 451-6944
Toll-free: 1-800-451-6944
Email: bond.claims@thehartford.com
Mail: The Hartford Financial Services

One Hartford Plaza, T-14

Hartford, CT 06155
Atin: Bond Claims Department

The Texas Department of Insurance
To get help with an insurance question or file a complaint with the state:
Call with a question: 1-800-252-3439
Email: ConsumerProtection@tdi.texas.gov
File a complaint: www.tdi.texas.gov
Mail: Consumer Protection, MC: CO-CP
Texas Department of Insurance
PO Box 12030, Austin, TX 78711-2030
